Case 2:23-cv-11597-BRM-CI ECF No. 62, PagelD.678 Filed 06/25/24 vol 1 (

UNITED STATES DISTRICT COURT LL
EASTERN DISTRICT OF MICHIGAN JUN 2 5 2
SOUTHERN DIVISION 5 024
“eBIes OFFi¢g
Elizabeth Nelson Orr
PO Box 1422
WARREN MI 48090 Case No. 2:23-cv-1 1597
Et al
Plaintiff Judge McMillion
-Vs- Magistrate: Ivy Jr
ROBERT SCOTT

(automatic substitute estate of SCOTT &/or City of Warren)

&/Or
Substitute New City of Warren Property & Maintenance Supervisor

Doug Campbell
Chief Code Enforcement Officer
dcampbell@cityofwarren.org

Suite 315
One City Square, Warren, MI, 48093

-MOTION FOR SUBSTITUTION OF PARTIES PER DEATH OF ROBERT
SCOTT

(D) Scott, defended by (D) City of Warren gave notice of death ECF 52. Now the (D) City of
Warren seeks to dismiss action since (D) Scott died 3/24. If (D) City of Warren had chose not to
defend (D) Scott and had him obtain his own attorncy-(D) estate of Scott may have merit to

1

Case 2:23-cv-11597-BRM-CI ECF No. 62, PagelD.679 Filed 06/25/24 Page 2 of 7

dismiss but since (D) City of Warren is defending (D) Scott, although Scott alleged to be acting
in his “personal capacity” the (D) City of Warren — defends (D) Scott averring that he has done
nothing wrong. The real party of interest is City of Warren &/OR -substituted party

Doug Campbell

NEW Chief Code Enforcement Officer
dcampbeil@cityofwarren.org

Suite 315
One City Square, Warren, MI, 48093

Rule 25. Substitution of Parties
(a) DEATH.

(1) Substitution if the Claim Is Not Extinguished. \f a party dies and the claim is not
extinguished, the court may order substitution of the proper party. A motion for substitution
may be made by any party or by the decedent's successor or representative. If the motion is not
made within 90 days after service of a statement noting the death, the action by or against the

decedent must be dismissed.

(2) Continuation Among the Remaining Parties. Afier a party's death, if the right sought to
be enforced survives only to or against the remaining parties, the action does not abate, but

proceeds in favor of or against the remaining parties. The death should be noted on the record.

(3) Service. A motion to substitute, together with a notice of hearing, must be served on the
parties as provided in Rule 5 and on nonparties as provided in Rule 4. A statement noting

death must be served in the same manner...

TRANSFER OF INTEREST. If an interest is transferred, the action may be continued by or against
the original party unless the court, on motion, orders the transferee to be substituted in the action
or joined with the original party. The motion must be served as provided in Rule 25(a\(3).

(d) Pusiic OFFICERS; DEATH OR SEPARATION FROM OFFICE. An action does not abate when a

public officer who is a party in an official capacity dies, resigns, or otherwise ceases to hold
office while the action is pending. The officer's successor is automatically substituted as a party.
Later proceedings should be in the substituted party's name, but any misnomer not affecting the

Case 2:23-cv-11597-BRM-CI ECF No. 62, PagelD.680 Filed 06/25/24 Page 3 of 7

partics’ substantial rights must be disregarded. The court may order substitution at any time, but
the absence of such an order does not affect the substitution.

Assuming arguendo the action was to be dismissed against (D) Scott, the action can still
proceed against the named (D)’s “successor party” Doug Campbell -holder of deceased
Property Maintenance Supervisor-Robert Scott’s position, & (D) City of Warren per their
“failure to train policy”, failure to train (D) Scott-cx police officer for (D) City of Warren who
acts like he’s still a police officer -effecting “citizen’s arrest” and conspiring with (D) STI
Towing, (D) Sullivan, (D) Hertz Bros & (D) Sandra Hertz-per the facts in the complaint.

1. Public Officers; Death or Separation from Office:
o An action doesn’t abate when a public officer who is a party in an official
capacity dies, resigns, or ceases to hold office. The officer’s successor is
automatically substituted as a party.

Remember, these rules ensure that legal proceedings can continue smoothly even when parties
experience changes in status”

Per lawsuit “accepted as true”, (Ps’) are proceeding against the (D) city of Warren under Monell
vy. Department of Social Services of the City of New York, infra which created.. for civil rights P
to seek money damages against a city. Pembaur v City of Cincinnati, infra “Monell.. recovery..
municipality is limited to acts.. ‘municipality’-that is, acts which the municipality has officially
sanctioned or ordered.’....”. “1% P alleges (D Warren) has an unconstitutional policy. These
policies may written or unwritten, so long as .. attributed to a “policymaker.” Warren has an
unconstitutional policy” &/or towing cars for “blight” entering private property without search
warrant “policymakers.. elected officials or those defined as policymakers by state law. This..
also provides a standard of causation: if a subordinate employee is the party responsible...
deprivation of rights, the local entity may only be responsible if a certain policy was a “moving
force” behind their action. This but-for standard .. 2nd a local entity may be liable .. § 1983 for

unconstitutional customs and practices. .. advantageous to a civil rights plaintiff when no

a
a
Case 2:23-cv-11597-BRM-CI ECF No. 62, PagelD.681 Filed 06/25/24 Page 4 of 7

policymaker can be identified. ... 3) if a policymaker delegates his or her authority to a
subordinate employee or explicitly approves of unconstitutional actions,.. act can be said to be
“of the municipality” by adoption. 4) civil rights plaintiff may allege deliberate indifference. ..
applies to singic-incident-type injustices and concems the city or county’s failure to hire, train, or
supervise its cmployees. Deliberate indifference liability attaches when policymakers of ..local
entity are aware .. risk and grossly negicct to address it. Blatant unconstitutional policies are
(not) authorized by city councils.. admissible evidence proving policymaker authorization or
adoption of a subordinate employee’s unconstitutional action is often non-existent” . Ps’ alleges
was a final policymaker] acted under color of state law; 2. acts of (Ds’) final policymaker
deprived P of rights under United States Constitution. (D) , final policymaker had final authority
from D City Warren concerning these acts. When Ds’ final policymaker engaged in these acts,
was acting as a final policymaker for (D) City Warren and acts , final policymaker caused the
deprivation of the plaintiff's rights; that is, final policymaker’s acts were so closely related..
deprivation of P’s rights as to.. moving force that caused ..ultimate injury. Person acts “under
color of state law” when person acts or purports to act in performance of official duties under
any state, county, or municipal law, ordinance or regulation. Monell liability is based on the
acts of a final policymaker. For other bases of Monell liability, Unlawful Official Policy,
Practice, or Custom... Based on a Policy that Fails to Prevent Violations of Law or a Policy of
Failure to Train Monell v. Dep't of Soc. Servs. of N.Y., 436 U.S. 658, 691. Such liability attach

when official or employee who caused a constitutional violation was acting as “final

policymaker.” Lytle v Carl, 382 F3d 978, 981. “To hold a local governing body liable for an

official’s conduct, a plaintiff must first show .. official (1) had final policymaking authority

concerning.. action ..and (2) was the policymaker for the local governing body for purposes of

Case 2:23-cv-11597-BRM-CI ECF No. 62, PagelD.682 Filed 06/25/24 Page 5 of 7

particular act.” Whether an official is a policymaker for Monell purposes is a question of state

law for the court” City of St Louis v Praprotnik, 485 US 112, 123 .. determination is made on a
function-by-function approach analyzed under state organizational structure. A “policy” is a
deliberate choice to follow a course of action made from among various alternatives by ..official
responsible for cstablishing final policy” Ps’ seeking to establish municipal liability under this
theory.. demonstrate that an action of final policymaker “was the ‘moving force’ behind the
constitutional violation Ps’ suffered.” “To meet this requirement, P.. show both causation-in-fact
& proximate causation.” /d A municipality may be liable for the acts of a final policymaker if
these acts caused a constitutional violation, even if the constitutional violation occurs only
once. Pembaur v City of Cincinnati, 475 US 469, 478 municipality is also Habic if a
policymaking official fully delegates discretionary authority to a subordinate, and subordinate
uses that discretion. City of St. Louis Id. Official may be found to have been delegated final
policymaking authority when the official’s discretionary decision is unconstrained by policies
not of that official’s making and unreviewable by the municipality’s authorized policymakers”
See Ex 15 10/12/22 Detroit Free Press “This video is sickening, ...Detroit teen punched, kicked
by Warren Police” Warren Police kick black youth. condone this illegal behavior, &/or § 1983
for unconstitutional customs and practices.

(P) 7/7/21 car towed “operable” Ex Afft P Ex 4 pi-2, ExJ-P-Thrower afft contrary to court
order tow “inoperable vehicles” cntered after vehicle towed. Ex I: Pic Car Speedway after left D
Service Towing Inc tow yard. Ex J court order dated 7/7/21 entered same day Honda towed, Ex
J Afft landlord para 3 “tow employees said ‘Honda cannot be towed without damaging it because
it is at an angle behind the house (7568 Hudson”, then towed. Ex J Afft affiant states “he was

not in court 7/7/21”. P in hospital 7/7/21, Ex K Afft-& attached Ex 4, cannot be deemed to have
Case 2:23-cv-11597-BRM-CI ECF No. 62, PagelD.683 Filed 06/25/24 Page 6 of 7

“constitutional notice” alicged order by court 7/7/21 centered same day as car towed. Ds were
aware other tenants in property and did not ascertain who owned Honda before tow.
Wherefore, new city of Warren Property and Maintenance Supervisor Doug Campbell is

substituted for deceased (D) Robert Scott.
7 4 ta

Albert Thrower ,pro se El Nelson pro sc

CERTIFICATE OF SERVICE

A copy of this motion has been served on the below defendants after calling same to
sec if they agree with (Ps’) position this 6/22/24

Mark Straetmans/ Rachel Selina 255 E Brown St #320 Birmingham, MI 48009 tel
2486459680

mstractmans@berrymoorman.com

rselina@berrymoorman.com

Jenifer Mead PO Box 806042 St Clair Shores, MI 48080 tel 3134851250
meadjenn(@hotmail.com

Law Offices of Thomas H. Stidham. 1401 W Fort St. Rm 1006. Detroit, MI 48233.
Telephone: (248) 303-0306. Fax: (313) 832-7661.

Tssti otmail.com

Y

Albert wer ,pro se Elizabeth Nelson pro se
. an d
Case 223-W-11597-BRM-Cl _ECF No. 62, PagelD.684 Filed 06/25/24 Page 7 of 7

4 - + ae

US POSTAGE AND FEESPAID @easypost

= Use

Commercial
2.0 OZ ZONE 2 0901000014400

USPS GROUND ADVANTAGE™

WORLD PLANT GROWTH LLC .
1312W89THST 0002
CLEVELAND OH 44102-1828

C052

SHIP TO: CLERK OF COURTS 5TH FL
* US COURTHOUSE
Hee 231 W LAFAYETTE BLVD
DETROIT MI 48226-2700

A
SPS TRACKING #

WANN

9400 1361 0553 6327 9681 54

